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        Exhibit 1
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 1   TIEGA NOEL VARLACK
     VARLACK LEGAL SERVICES
 2   Gatehouse Plaza
     1290 B. Street, STE 208
 3
     Hayward, CA 94541
 4   Telephone: (510) 397-2008
     Facsimile: (510) 397-2997
 5   Email: tiega@varlacklegal.com
 6
     Attorney for Plaintiff
 7   GUSTAVAS VARLACK

 8
                                 SUPERIOR COURT OF CALIFORNIA
 9
10                                       COUNTY OF ALAMEDA

11
     GUSTAVAS VARLACK                                      Case No:
12
                                                                COMPLAINT FOR DAMAGES
13                        Plaintiff

14                                                         1. BREACH OF CONTRACT
     v.
                                                           2. BREACH OF COVENANT OF GOOD
15                                                         FAITH AND FAIR DEALING
     LIBERTY MUTUAL INSURANCE
                                                           3. UNFAIR BUSINESS PRACTICES
16   COMPANY and DOES 1-25 inclusive.
                                                           4. COMMON COUNTS
                                                           5. FRAUD
17                      Defendants.
18                                                              [DEMAND FOR JURY TRIAL]

19
20
                                                COMPLAINT
21
22           Plaintiff Gustavas Varlack, by and through their counsel, for their complaint against
     LIBERTY MUTUAL INSURANCE COMPANY (“Liberty Mutual”), state as follows:
23
24                                      NATURE OF THE ACTION
25
     1. Plaintiff asserts claims against Liberty Mutual for breach of contract, breach of the implied
26
          covenant of good faith and fair dealing, and unfair business practices.
27
28

                                                       1

                                                 COMPLAINT
             Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 3 of 23




 1   2. The parties share a contractual relationship in which for adequate consideration the parties

 2      agreed to contract for Business Loss of Income insurance to cover Plaintiff’s business located
        in Oakland, California.
 3
     3. Defendant Liberty Mutual acted in bad faith by refusing to extend coverage under said
 4
        contract and have refused to pay Plaintiff’s claim without a reasonable basis for denial.
 5
 6                                              PARTIES
 7
     4. Plaintiff is the business owner of Oakland Acupuncture & Integrative Medicine Clinic
 8
        located at 9 Grand Ave #13, Oakland, CA 94612.
 9
     5. Defendant Liberty Mutual Insurance Company is a business entity designation unknown that
10      is domiciled in the State of Massachusetts and licensed to write business insurance in the State
11      of California.
12   6. Plaintiff is ignorant of the names and capacities of the defendants designated as DOES 1-25
13      herein, and thus sue those Defendants by those fictitious names. Plaintiff will amend this

14      complaint to allege the true names and capacities of those Defendants when ascertained.
     7. Plaintiff is informed and believe, and thereon allege, that each of the Defendants designated as
15
        DOE is negligently, consciously, willfully, intentionally, knowingly, recklessly, or otherwise
16
        tortuously or illegally responsible in some manner for the events and happenings herein
17
        referred to, and negligently, consciously, willfully, intentionally, knowingly, recklessly, or
18      otherwise tortuously cause injuries and damages proximately thereby to Plaintiff as
19      hereinafter alleged due to said Defendant’s own conduct or through the conduct of their agent,
20      servants, or employees, and each of them.
21   8. At all times herein relevant, each of the Defendants were an agent, servant, or employee of

22      each of the remaining Defendants, and was at all times acting within the time, purpose, or
        scope of said agency or employment, and acting within the express or implied knowledge,
23
        permission or concern of the remaining Defendants, and each of them.
24
25                                               JURISDICTION
26
     9. The Property that is the subject of this complaint is located in the County of Alameda,
27
        California.
28

                                                      2

                                                COMPLAINT
             Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 4 of 23




 1   10. Plaintiff resides in the County of Alameda, California.

 2   11. The Court has specific personal jurisdiction over CSAA because it has sufficient contacts
        within the State of California and breached its contract with Plaintiff in the State of California.
 3
     12. Each contact that involved the parties regarding an interest in the Property was entered in the
 4
        County of Alameda, California.
 5
 6                                         GENERAL ALLEGATIONS
 7
     13. On March 12, 2020, Plaintiff purchased Professional and General Liability insurance through
 8
        Liberty Mutual.
 9
     14. On March 15, 2020, Governor Gavin Newsome ordered the closure of all “non-life-
10      sustaining” businesses to limit the spread of COVID-19.
11   15. Following the closure, Plaintiff filed a claim of Business Loss of Income on March 25, 2020,
12      due to the forced closure and demanded an insurance payment from Defendant.
13   16. On April 6, 2020, Defendant refused to make a payment to Plaintiff as was required under the

14      Professional and General Liability Policies.
     17. Defendant’s refusal to make payment to Plaintiff was made without a reasonable basis in fact
15
        or law.
16
     18. Defendant’s refusal to make payment to Plaintiff was made in bad faith and for the purpose of
17
        denying the benefits of contract for insurance coverage to Plaintiff.
18   19. Defendant Liberty Mutual owed Plaintiff the following duties, among others: (a) a
19      duty to honor the Professional and General Liability insurance contract for the entire policy
20      duration; (b) a duty to conduct a prompt, reasonable and diligent investigation of the facts of
21      the case to determine the validity of the claims made by Plaintiff against Defendant; (c) a duty

22      to evaluate the Plaintiff’s claims fairly; (d) a duty to attempt in good faith to effectuate a
        prompt, fair and equitable settlement of a claim where liability is reasonable clear; (e) a duty
23
        to act promptly and reasonably in settling the claim; (f) a duty not to reject a reasonable and
24
        fair offer of settlement; (g) a duty not to put its insureds through unnecessary litigation; (h) a
25
        duty not to put its insureds’ assets at risk; (i) a duty to refrain from actions that would injure
26
        the Plaintiff’s insured ability to obtain the benefits of the insurance contract; and (j) a duty of
27      good faith and fair dealing.
28

                                                       3

                                                 COMPLAINT
             Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 5 of 23




 1   20. Upon information and belief, the Plaintiff alleges that Defendant Liberty Mutual breached its

 2      duties owed to Plaintiff by, among other things: (a) failing to honor the Professional and
        General Liability insurance contract; (b) failing to conduct a prompt, reasonable and diligent
 3
        investigation of the claims made against CSAA; (c) failing to evaluate the claim fairly; (d)
 4
        failing to tender the claims; (e) failing to attempt in good faith to effectuate a prompt, fair and
 5
        equitable settlement of the claim; (f) not making any reasonable settlement offers to offer the
 6
        claims; (g) failing to accept reasonable and fair offers of settlement; (h) putting its insureds,
 7      Plaintiff herein, through unnecessary litigation; (i) putting its insureds’ personal assets at risk;
 8      and (j) failing to pay any reasonable portion of the insurance coverage to Plaintiff herein.
 9   21. As a direct and approximate result of Liberty Mutuals breaches of its duties that it owed to its
10      insureds, the Plaintiff herein, Plaintiff have been deprived of the benefits to which they were

11      entitled and for which they bargained in the insurance contract and were forced to incur
        expenses to obtain the benefits to which they were otherwise entitled, and Plaintiff have
12
        otherwise been damaged in amounts to be determined at trial.
13
     22. Defendant’s actions herein constitute bad faith insurance practices.
14
     23. The Court should enter a declaratory judgment, that Defendant must pay its policy limits to
15
        Plaintiff herein, in order to satisfy the damages sustained by Plaintiff in the underlying flood.
16   24. Plaintiff has been required to engage the services of attorneys, and, accordingly, have incurred
17      attorneys’ fees and costs to bring this action.
18
                      FIRST CAUSE OF ACTION – BREACH OF CONTRACT
19
20   25. Plaintiff reallege and incorporate by reference each paragraph above as if fully set forth
21      herein.

22   26. Though a written contract Liberty Mutual and the Doe defendants: (1) agreed to provide
        Plaintiff with coverage for damages incurred pursuant to the Professional Liability/ General
23
        Liability insurance policies.
24
     27. In exchange for the above, the contract called for Plaintiff to pay monies to Defendant Liberty
25
        Mutual. Plaintiff relied on the aforementioned promises, entered into an agreement with
26
        Defendant Liberty Mutual, paid $192.00 in hard money, and otherwise performed.
27   28. Through the acts and omissions of, Defendant Liberty Mutual, the DOE defendants and their
28      agents and employees as set forth above, Defendants breached the contract in that they failed

                                                       4

                                                 COMPLAINT
             Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 6 of 23




 1      to provide Plaintiff with coverage pursuant to the Professional Liability/ General Liability

 2      insurance policies.
     29. WHEREFORE, Plaintiff requests for relief as hereinafter set forth.
 3
 4     SECOND CAUSE OF ACTION—BREACH OF COVENANT OF GOOD FAITH AND
 5                                           FAIR DEALING
 6
     30. Plaintiff re-alleges and incorporates by reference each Paragraph above as if fully set herein.
 7
     31. Within the aforementioned contract between the parties, there was an implied covenant of
 8
        good faith and fair dealing by and between the parties which prohibits them from engaging in
 9
        any activity or conduct which would prevent the other party from receiving the benefits of the
10      contract.
11   32. Through its acts and omissions, Defendants breached the covenant of good faith and fair
12      dealing, all causing damage to Plaintiff as set forth herein.
13   33. WHEREFORE, Plaintiff requests for relief as hereinafter set forth.

14                    THIRD CAUSE OF ACTION –UNFAIR BUSINESS PRACTICES:
15
        55. Plaintiff re-alleges and incorporates by reference each Paragraph above as if fully set
16
            herein.
17
        56. Plaintiff pursuant to the Bus. & Prof. Code §17204, bring this cause of action as private
18
            attorney generals on behalf of the general public.
19      57. “Unfair competition” is defined in Section 17200 of the Business & Prof. Code as
20          encompassing any one of the following five types of business wrongs: (1) an “unlawful”
21          business act or practice; (2) an “unfair” business act or practice; (3) a “fraudulent”

22          business act or practice; (4) “unfair, deceptive, untrue or misleading advertising”; and (5)

23          any act prohibited by Sections 17500-17577.5. The definitions in Section 17200 are
            disjunctive. Each of these five “wrongs” operates independently from the others.
24
        58. Section 17200 does not exempt specific industries but applies to any person. The term
25
            person has been broadly defined as “all natural persons, corporations, firms, partnerships,
26
            joint stock companies, associations, and other organizations of persons.”
27      59. As explained in the preceding paragraphs, defendants and each of them were aware of the
28          “unlawful acts” committed in violation of a number of regulations.

                                                      5

                                                COMPLAINT
         Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 7 of 23




 1   60. An “unfair” business practice occurs when it offends an established public policy or

 2      when the practice is immoral, unethical, oppressive, unscrupulous or substantially
        injurious to consumers.
 3
     61. By and through their conduct, including the conduct detailed above, defendants have
 4
        engaged in activities which constitute unfair competition prohibited by California
 5
        Business and Professions Code § 17200 et seq. in that the above-described conduct is
 6
        unlawful and/or unfair and/or fraudulent within the meaning of the statute.
 7   62. Defendants have engaged in and on information and believe continue to engage in
 8      unlawful conduct by violating Civil Code§ 3300 et. seq.
 9   63. Besides being unlawful, defendant’s conduct alleged herein is “unfair” within the
10      meaning of § 17200 inasmuch as such conduct offends public policy in this State, has no

11      utility or rational justification, and is substantially injurious to consumers.
     64. Besides being unlawful and unfair, defendants conduct alleged herein is “fraudulent”
12
        and/or “misleading” within the meaning of California Business and Professions Code §
13
        17200 and § 17500 inasmuch as such conduct is likely to deceive members of the general
14
        public.
15
     65. Plaintiff are prosecuting this action for enforcement of important rights affecting the
16      public interest, and therefore seeks to recover its attorneys’ fees under § 1021.5 of the
17      Code of Civil Procedure, and/or under the “common fund” doctrine available to a
18      prevailing plaintiff who wins restitutionary damages for the general public.

19   66. WHEREFORE, the Plaintiff request relief as set forth herein.

20
                        FOURTH CAUSE OF ACTION – COMMON COUNTS
21
22
     67. Plaintiff re-alleges and incorporates by reference each Paragraph above as if fully set
23
        herein.
24   68. Mr. Varlack relied on Liberty Mutual to follow through with their general provisions and
25      terms of protection when it came to his business and property.
26   69. Defendant received money that was intended to be used for the benefit of plaintiff.
27   70. Liberty Mutual failed to provide Plaintiff with coverage pursuant to the Professional

28      Liability/ General Liability insurance policies.

                                                   6

                                             COMPLAINT
         Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 8 of 23




 1   71. Mr. Varlack alleges that he was not provided the appropriate assistance even though it

 2      was requested and promised in the agreement.
     72. Wherefore, Plaintiff request relief as set for the below.
 3
 4
                                 FIFTH CAUSE OF ACTION – FRAUD
 5
 6
     73. Plaintiff hereby incorporates by reference the foregoing paragraphs, as though fully set
 7      forth herein.
 8   74. Plaintiff entered a contract with Defendant for a Professional & General Liability
 9      insurance, at the time of the facts giving rise to the claims herein Mr. Varlack had one
10      contract with defendant.

11   75. Liberty Mutual made representations of material fact that if Plaintiff used their services,
        they would insure him against, “terrorism, California Fires, and COVID-19.”
12
     76. Liberty Mutual and its agents never stated to Plaintiff that coverage would only extend to
13
        “physical damage of the premises.”
14
     77. These representations were in fact false; the truth was that Defendant had no intention of
15
        offering Plaintiff the coverage he was entitled to.
16   78. In justifiable reliance upon defendant's conduct, plaintiff was induced to act by trusting
17      Liberty Mutual in purchasing General and Professional Liability Insurance through them
18      with the understanding that his business would be covered for any damages, physical or

19      otherwise.
     79. As a direct and proximate result of Defendant’s conduct, Plaintiff has suffered and
20
        continues to suffer extreme and severe mental anguish and emotional distress and other
21
        non-economic damages including but not limited to shock, anxiety, loss of self-esteem,
22
        and loss of self-worth. Plaintiff is thereby entitled to general and compensatory damages
23
        in amounts to be proven at trial. Plaintiff is also entitled to attorney’s fees and costs
24      pursuant to statute.
25   80. Wherefore, Plaintiff requests relief as set forth below.
26
27
28

                                                   7

                                             COMPLAINT
                Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 9 of 23




 1                                             PRAYER FOR RELIEF

 2
            WHEREFORE, Plaintiff request a judgment against Defendants, and each of them, as
 3
     follows:
 4
 5                1. For general damages, including, without limitation, for physical harm and mental
                     and emotional distress according to proof (on the applicable cases of action as
 6
                     plead above);
 7
                  2. For compensatory damages in the form of a refund of fees and other costs
 8
                     associated with plaintiff’s contract with defendant according to proof.
 9
                  3. For disgorgement and restitution in the form of payments and other costs
10                   associated with doing business with defendant according to proof.
11                4. For punitive damages and statutory penalties (on the applicable causes of action
12                   as plead above);
13                5. For an award of interest, including prejudgment interest, at the legal rate;

14                6. For an award of attorney’s fees;
                  7. For costs of suit incurred;
15
                  8. For such other and further relief as the Court deems appropriate.
16
                  9. For preliminary and permanent injunction forbidding the defendants from
17
                     continuing to make use of the unlawful business practices detailed in this
18                   complaint.
19
20                                      DEMAND FOR JURY TRIAL

21                                   Plaintiff herewith demands a jury trial.

22
     Dated: March 18, 2022,                                         VARLACK LEGAL SERVICES
23
24
25
26
                                                                     _________________________
27                                                                   Tiega-Noel Varlack, Esq.
                                                                     Attorney for Plaintiff
28                                                                   GUSTAVAS VARLACK
                                                        8

                                                   COMPLAINT
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         Exhibit 2
             Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 11 of 23




Liberty Mutual Insurance Company and DOES 1-25 inclusive




Gustavas Varlack, an Individual




Hayward Hall of Justice
24405 Amador Street
Hayward, CA 94544

Tiega-Noel Varlack SBN 248203                              PH: (510)397-2008
Varlack Legal Services
1290 B. Street, Suite 208, Hayward, CA 94541
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         Exhibit 3
                   Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 13 of 23
                                                                                                   Reserved for Clerk’s File Stamp
               SUPERIOR COURT OF CALIFORNIA
                   COUNTY OF ALAMEDA
  COURTHOUSE ADDRESS:
 Hayward Hall of Justice
 24405 Amador Street, Hayward, CA 94544
  PLAINTIFF:
 Gustavas Varlack
  DEFENDANT:
 LIBERTY MUTUAL INSURANCE COMPANY
                                                                                            CASE NUMBER:
               NOTICE OF CASE MANAGEMENT CONFERENCE                                         22CV008616

TO THE PLAINTIFF(S)/ATTORNY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve all named defendants and file proofs of service on those defendants with the court within 60 days of
the filing of the complaint (Cal. Rules of Court, 3.110(b)).

Give notice of this conference to all other parties and file proof of service.

Your Case Management Conference has been scheduled on:


                                  Date:   06/17/2022        Time:   10:00 AM     Dept.:   520
                                  Location:   Hayward Hall of Justice
                                              24405 Amador Street, Hayward, CA 94544

TO DEFENDANT(S)/ATTORNEY(S) FOR DEFENDANT(S) OF RECORD:

The setting of the Case Management Conference does not exempt the defendant from filing a responsive pleading as
required by law, you must respond as stated on the summons.

TO ALL PARTIES who have appeared before the date of the conference must:

Pursuant to California Rules of Court, 3.725, a completed Case Management Statement (Judicial Council form CM-110)
must be filed and served at least 15 calendar days before the Case Management Conference. The Case Management
Statement may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record.
Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724.
Post jury fees as required by Code of Civil Procedure section 631.

If you do not follow the orders above, the court may issue an order to show cause why you should not be sanctioned
under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings or dismissal of the
action.

The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
Resolution, such as mediation or arbitration. Check the court's eCourt Public Portal for each assigned department's
procedures regarding tentative case management orders at https://eportal.alameda.courts.ca.gov.




Form Approved for Mandatory Use
Superior Court of California,               NOTICE OF
County of Alameda
                                  CASE MANAGEMENT CONFERENCE
ALA CIV-100 [Rev. 10/2021]
Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 14 of 23




         Exhibit 4
             Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 15 of 23
                                                                               Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:
Hayward Hall of Justice
24405 Amador Street, Hayward, CA 94544
PLAINTIFF/PETITIONER:
Gustavas Varlack
DEFENDANT/RESPONDENT:
LIBERTY MUTUAL INSURANCE COMPANY
                                                                         CASE NUMBER:
                        CERTIFICATE OF MAILING                           22CV008616

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Case Management Conference upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Oakland, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




    Tiega Noel Varlack
    Varlack Legal Services
    1290 B. Street, Suite 208
    Hayward, CA 94541




                                                   Chad Finke, Executive Officer / Clerk of the Court
Dated: 03/21/2022                                   By:




                                    CERTIFICATE OF MAILING
Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 16 of 23




         Exhibit 5
JS-CAND 44 (Rev. 10/2020)        Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 17 of 23
                                                                               CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                             DEFENDANTS
 Gustavas Varlack                                                                                          Liberty Mutual Insurance Co. and Does 1-25
   (b) County of Residence of First Listed Plaintiff            Alameda County, California                    County of Residence of First Listed Defendant              Suffolk County, Massachusetts
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.
   (c)      Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
 TIEGA NOEL VARLACK
 VARLACK LEGAL SERVICES
 Gatehouse Plaza
                                                                                                           Christina M. Lincoln, Robins Kaplan LLP,
 1290 B. Street, Suite 208
 Hayward, California 94541
                                                                                                           2049 Century Park East, Suite 3400, Los Angeles, CA 90067
II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                      and One Box for Defendant)
                                                                                                                                         PTF       DEF                                      PTF          DEF
      1    U.S. Government Plaintiff       3    Federal Question                                    Citizen of This State                  1        1      Incorporated or Principal Place      4          4
                                                (U.S. Government Not a Party)
                                                                                                                                                           of Business In This State
                                                                                                    Citizen of Another State                2        2     Incorporated and Principal Place     5         5
      2    U.S. Government Defendant       4     Diversity                                                                                                 of Business In Another State
                                               (Indicate Citizenship of Parties in Item III)
                                                                                                    Citizen or Subject of a                 3        3     Foreign Nation                       6         6
                                                                                                    Foreign Country

IV.          NATURE OF SUIT               (Place an “X” in One Box Only)
          CONTRACT                                                   TORTS                                    FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
   110 Insurance                         PERSONAL INJURY                     PERSONAL INJURY                  625 Drug Related Seizure of         422 Appeal 28 USC § 158           375 False Claims Act
   120 Marine                                                                                                     Property 21 USC § 881           423 Withdrawal 28 USC             376 Qui Tam (31 USC
                                       310 Airplane                        365 Personal Injury – Product
   130 Miller Act                                                              Liability                      690 Other                               § 157                             § 3729(a))
                                       315 Airplane Product Liability
   140 Negotiable Instrument                                               367 Health Care/                             LABOR                       PROPERTY RIGHTS                 400 State Reapportionment
                                       320 Assault, Libel & Slander
   150 Recovery of                                                             Pharmaceutical Personal                                                                              410 Antitrust
                                       330 Federal Employers’                                                 710 Fair Labor Standards Act        820 Copyrights
       Overpayment Of                                                          Injury Product Liability                                                                             430 Banks and Banking
                                           Liability                                                          720 Labor/Management                830 Patent
       Veteran’s Benefits                                                  368 Asbestos Personal Injury                                                                             450 Commerce
                                       340 Marine                                                                 Relations                       835 Patent─Abbreviated New
   151 Medicare Act                                                            Product Liability
                                       345 Marine Product Liability                                           740 Railway Labor Act                   Drug Application              460 Deportation
   152 Recovery of Defaulted                                               PERSONAL PROPERTY                                                                                        470 Racketeer Influenced &
                                       350 Motor Vehicle                                                      751 Family and Medical              840 Trademark
       Student Loans (Excludes                                             370 Other Fraud                                                                                              Corrupt Organizations
                                       355 Motor Vehicle Product                                                  Leave Act                       880 Defend Trade Secrets
       Veterans)                                                           371 Truth in Lending
                                           Liability                                                          790 Other Labor Litigation              Act of 2016                   480 Consumer Credit
   153 Recovery of                                                         380 Other Personal Property
                                       360 Other Personal Injury                                              791 Employee Retirement                                               485 Telephone Consumer
       Overpayment                                                                                                                                 SOCIAL SECURITY
                                                                               Damage                             Income Security Act                                                   Protection Act
    of Veteran’s Benefits              362 Personal Injury -Medical                                                                               861 HIA (1395ff)
                                           Malpractice                     385 Property Damage Product                                                                              490 Cable/Sat TV
   160 Stockholders’ Suits                                                     Liability                            IMMIGRATION                   862 Black Lung (923)              850 Securities/Commodities/
   190 Other Contract                                                                                         462 Naturalization                  863 DIWC/DIWW (405(g))                Exchange
                                            CIVIL RIGHTS                   PRISONER PETITIONS
   195 Contract Product Liability                                                                                 Application                     864 SSID Title XVI
                                       440 Other Civil Rights                                                                                                                       890 Other Statutory Actions
                                                                              HABEAS CORPUS                   465 Other Immigration
   196 Franchise                                                                                                                                  865 RSI (405(g))                  891 Agricultural Acts
                                       441 Voting                          463 Alien Detainee                     Actions
          REAL PROPERTY                442 Employment                                                                                             FEDERAL TAX SUITS                 893 Environmental Matters
                                                                           510 Motions to Vacate
   210 Land Condemnation               443 Housing/                            Sentence                                                           870 Taxes (U.S. Plaintiff or      895 Freedom of Information
                                           Accommodations                                                                                             Defendant)                        Act
   220 Foreclosure                                                         530 General
                                       445 Amer. w/Disabilities–                                                                                  871 IRS–Third Party 26 USC        896 Arbitration
   230 Rent Lease & Ejectment                                              535 Death Penalty
                                           Employment                                                                                                  § 7609                       899 Administrative Procedure
   240 Torts to Land                                                                OTHER
                                       446 Amer. w/Disabilities–Other                                                                                                                   Act/Review or Appeal of
   245 Tort Product Liability                                              540 Mandamus & Other                                                                                         Agency Decision
   290 All Other Real Property         448 Education
                                                                           550 Civil Rights                                                                                         950 Constitutionality of State
                                                                           555 Prison Condition                                                                                         Statutes
                                                                           560 Civil Detainee–
                                                                               Conditions of
                                                                               Confinement

V.           ORIGIN (Place an “X” in One Box Only)
   1      Original                2    Removed from              3      Remanded from           4   Reinstated or           5 Transferred from              6   Multidistrict           8 Multidistrict
          Proceeding                   State Court                      Appellate Court             Reopened                  Another District (specify)        Litigation–Transfer       Litigation–Direct File


VI.          CAUSE OF           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                28 U.S.C. Section 1332
             ACTION
                                Brief description of cause:
                                Breach of contract, breach of covenant of good faith and fair dealing, unfair business practices, common counts, and fraud
VII.         REQUESTED IN                  CHECK IF THIS IS A CLASS ACTION                          DEMAND $        240,000.00                     CHECK YES only if demanded in complaint:
             COMPLAINT:                    UNDER RULE 23, Fed. R. Civ. P.                                                                          JURY DEMAND:             Yes       No

VIII. RELATED CASE(S),                                   JUDGE                                                       DOCKET NUMBER
      IF ANY (See instructions):
IX.         DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)   SAN FRANCISCO/OAKLAND                                                                          SAN JOSE                         EUREKA-MCKINLEYVILLE


DATE                                                     SIGNATURE OF ATTORNEY OF RECORD
                       Case
JS-CAND 44 (rev. 10/2020)        4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 18 of 23

             INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet. Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
   I. a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
     b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
     c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section “(see attachment).”
   II.    Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
          pleadings. Place an “X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
          (1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here.
          (2) United States defendant. When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
          (3) Federal question. This refers to suits under 28 USC § 1331, where jurisdiction arises under the Constitution of the United States, an amendment
              to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
              takes precedence, and box 1 or 2 should be marked.
          (4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
              citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
              cases.)
   III.   Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
          Mark this section for each principal party.
   IV.    Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
          sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
          one nature of suit, select the most definitive.
   V.     Origin. Place an “X” in one of the six boxes.
          (1) Original Proceedings. Cases originating in the United States district courts.
          (2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
              petition for removal is granted, check this box.
          (3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
              date.
          (4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
          (5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
              multidistrict litigation transfers.
          (6) Multidistrict Litigation Transfer. Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
              § 1407. When this box is checked, do not check (5) above.
          (8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
          Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.
   VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
          statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Description: Unauthorized reception of cable service.
   VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
          Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
          Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
   VIII. Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.
   IX.    Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
          section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the
          events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.”
   Date and Attorney Signature. Date and sign the civil cover sheet.
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         Exhibit 6
                   Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 20 of 23
Alfonwy or Part)' without Attorney:                                                                                              For Court L'se Only
  Tiega- Noal Varlack, Esq., Bar #248203
  Varlack Legal Services
  Gatehouse Plaza
  1290 B. St. Suite 208
  Hayward, CA 94541
Telephone No: 510-397-2008                  FAX No: 510-391-2991
                                                                        Re/. .\'o. or File No.:
Attorneyfor: PlaintifT
Insert name of Court, and Judicial District and Branch Court:

  Alaineda County Superior Couil
Plaintiff Gustavas Varlack
Defendant: Liveitv Mutual Insurance Company, et al.
       PROOF OF SERVICE                            Hearing Dote:                 Time:                Dept Div:      Case Number:

      Summons & Complaint                                                                                              22CV008616
I. Al the time ofservice I was at least !8 years ofage and not a party’ to this action.

2. 1 served copies of the Summons & Complaint; Notice of Case Management Conference.

J. a. Party served:                                             Liberty Mutual Insurance Company
   b. Person served:                                            Koy Saechao, Person Authorized to Accept

4. Address where the party was served:                          CSC Lawyers Incorporating Services
                                                                2710 Gateway Oaks Dr. Suite 150 N
                                                                Sacramento. CA 95833
5. I served the parly:
   a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
      process for the paity (1) on: Thu., Mar. 24. 2022(2) al; 1:50PM

6. The "Notice to the Person Served”(on the Summons) was completed asfollows:
    on behalfof: Liberty Mutual Insurance Company
    Under CCP 416.10 (corporation)

7. Person Who Served Papers:                                                                            Recoverable Cost Per CCP 1033.5(a)(4)(B)
    a. John M. Adams                                                          d. The Feefor Service                    S25.00

                                                                              e. i am:(3) registered California process server
                  1500 W. El Camino Avenue,#510
                                                                                                  (i) Independent Contractor
                  Sacramento, CA 95833
                                                                                                  (ii) Registration No.:  2014-45
                  855-5VALPRO, Fax(866)900-4665
                                                                                                  (Hi) County:                  Sacramen to
                  y^vvw.ValproAttorneyServices.com




8. I declare under penalty ofperjury under the laws ofthe State of California that theforegoing is tru'and correct.
   Date: Thu, Mar. 24, 2022


                                                                   PROOF OF ^;rvice                                        i n..-vclams)
                                                                   Summon.s Complaint                                                              \'(il6.-f6025
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         Exhibit 7
            Case 4:22-cv-02478-KAW Document 1-1 Filed 04/22/22 Page 22 of 23
Varlack v. Liberty Mutual Insurance Company, 22CV008616 (2022)




                         TO ORDER COPIES OF ANY DOCUMENTS LISTED
                            BELOW, CALL WESTLAW COURTEXPRESS
                    1-877-DOC-RETR (1-877-362-7387) (Additional Charges Apply)

                               This docket is current through 04/22/2022

Current Date: 4/22/2022
Source:       Superior Court, Alameda COUNTY, California
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   Footer).

CASE INFORMATION
Case Title:                              Varlack v. Liberty Mutual Insurance Company
Court:                                   Superior Court, Alameda COUNTY
Case Number:                             22CV008616
Case Type:                               Civil
Case Subtype:                            Unlimited Civil
Description:                             Insurance Coverage Not Complex
Date Filed:                              03/18/2022
Judge:                                   Hon. Julia Spain
Location:                                Hayward Hall Of Justice / Dept 520

PARTICIPANT INFORMATION


 Gustavas Varlack

Type:                                    Plaintiff



 Liberty Mutual Insurance Company

Type:                                    Defendant



 Julia Spain

Type:                                    Other

ATTORNEY INFORMATION


 Tiega Noel Varlack




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Varlack v. Liberty Mutual Insurance Company, 22CV008616 (2022)




CALENDAR INFORMATION (1)
Date/Time:                      Description:                          Location:                                    Judge:
06/17/2022                      Event: Case Management                Department: Hhj /
10:00 AM                        Conference                            Department 520

DOCKET PROCEEDINGS (8)
Date:         Entry #:    Description:                     Date Docketed:      Party:
03/25/2022                Docket Entry: Proof Of                                           View   Add to request
                          Personal Service Filed By:
                          Gustavas Varlack (Plaintiff) As
                          To: Liberty Mutual Insurance
                          Company (Defendant) Service
                          Date: 03/24/2022 Service Cost:
                          25.00 Service Cost Waived: No
                          File Type: Document
03/21/2022                Docket Entry: Case                                               Send Runner to Court
                          Management Conference
                          Scheduled For 06/17/2022 At
                          10:00 AM In Hayward Hall Of
                          Justice At Department 520 File
                          Type: Event
03/21/2022                Docket Entry: Notice Of Case                                     View   Add to request
                          Management Conference Filed
                          By: Clerk File Type: Document
03/18/2022                Docket Entry: Case Assigned                                      Send Runner to Court
                          To Hon. Julia Spain In
                          Department 520 Hayward
                          Hall Of Justice File Type:
                          Assignment
03/18/2022                Docket Entry: Civil Case Cover                                   View   Add to request
                          Sheet Filed By: Gustavas
                          Varlack (Plaintiff) As To:
                          Liberty Mutual Insurance
                          Company (Defendant) File
                          Type: Document
03/18/2022                Docket Entry: Complaint Filed                                    View   Add to request
                          By: Gustavas Varlack (Plaintiff)
                          As To: Liberty Mutual Insurance
                          Company (Defendant) File
                          Type: Document
03/18/2022                Docket Entry: Notice Of Case                                     View   Add to request
                          Assignment Filed By: Clerk File
                          Type: Document
03/18/2022                Docket Entry: Summons On                                         View   Add to request
                          Complaint Issued And Filed By:
                          Gustavas Varlack (Plaintiff) As
                          To: Liberty Mutual Insurance
                          Company (Defendant) File
                          Type: Document

                       TO ORDER COPIES OF ANY DOCUMENTS LISTED
                          ABOVE, CALL WESTLAW COURTEXPRESS
                  1-877-DOC-RETR (1-877-362-7387) (Additional Charges Apply)

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